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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF FLORIDA

 UNITED STATES OF AMERICA
                    VS                                               CASE NO. 1:88-CR-01026-17 MMP
       CHARLES L. DAVIS

                              FINANCIAL REFERRAL AND ORDER

Regarding release of funds for: X Fine,         Restitution,    Filing Fee,      Attorney Admission Fee,
   Copy Fee,     Bond,      Other (Specify)

By:      Charles L. Davis #42268-018                    (Payee)
Address: FCI Fort Dix
         PO Box 2000
         Fort Dix, NJ 08640

Receipt Number B121206               Date of Receipt        1/3/07

Motion: N/A

Explanation: A review of the payment records for Mr. Davis indicates an overpayment of $50.00.
According to the court dockets and financial records, Mr. Davis does not owe any additional money and
should be reimbursed $50.00.

WILLIAM M. McCOOL, Clerk of Court

Prepared by: ___s/Philip Detweiler___________
             Philip Detweiler, Financial Specialist                  Date: January 25, 2007

Referred by:                                ,Deputy Clerk

                                           ORDER OF COURT

It is ORDERED this 25th           day of    January    , 2007, that the Clerk refund the identified funds
to the payee.



                                                      s/Maurice M. Paul
                                                      MAURICE M. PAUL, SENIOR
                                                      UNITED STATES DISTRICT JUDGE


Adopted: 12/03/99
